_ WwW

aD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 1 of 37

The Honorable

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
DAVID L. GARRISON, an individual, )
) No.
Plaintiffs, )
) NOTICE OF REMOVAL
v. )
)
MERCHANT & GOULD, P.C.,a Minnesota +)
professional corporation, )
)
Defendant. )
)
)
)

 

 

TO: The United States District Court for the Western District of Washington at Seattle:

Defendant Merchant & Gould, P.C., hereby gives notice that it is removing the above-
captioned case, originally filed in the Superior Court of the State of Washington for King
County, Cause No. 09-2-40608-1 SEA, to the United States District Court for the Western
District of Washington at Seattle. It removes the case pursuant to 28 U.S.C. §§ 1441 and
1446, on the grounds set forth below.

1. This is a civil action between citizens of different states. Plaintiff is a resident
of Washington. The Defendant Merchant & Gould, P.C. is a Minnesota professional
corporation with its principal place of business in Minnesota. See Declaration of Tracey
Skjeveland {ff 1-2, attached as Exhibit A. Plaintiff seeks damages for lost wages, lost
bonuses, exemplary damages, and “injuries to his practice.” Although Plaintiffs Complaint

NOTICE OF REMOVAL (CV ) —1

Davis Wright Tremaine LLP
DWT 13610749v1 0055956-000004 ____ LAW OFFICES
Suite 2200 - 1201 Third Avenue
Seattle, Washington 98101-3045
(206) 622-3150 - Fax: (206) 757-7700

 
oO Se SN HD WN FS

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 2 of 37

does not set forth the dollar amount prayed for, Defendant has a good faith and reasonable
belief that Plaintiff is seeking damages in excess of the required jurisdictional amount,
$75,000, exclusive of interest and costs. Thus, this Court has original jurisdiction over this
action pursuant to 28 U.S.C. § 1332.

2. The Complaint was filed with the Superior Court of the State of Washington
for King County on November 5, 2009, denominated Cause No. 09-2-40608-1 SEA. On
November 5, 2009, Plaintiff served this Complaint on Merchant & Gould, P.C. As of the date
of this filing, Plaintiff has not served Defendant with a summons, as required under Civil
Rule 4. This Notice of Removal is therefore timely under 28 U.S.C. § 1446(b) as it is being
filed within 30 days of Defendant’s notice of this Complaint and of actual service upon it.

3. For the reasons set forth in Paragraph 1 and 2 above, this action may be
removed by Defendant to federal court pursuant to 28 U.S.C. § 1441 (a), (b).

4. The only named Defendant Merchant & Gould is represented by Davis Wright
Tremaine LLP and Leonard, Street and Deinard, and consents to removal. Therefore, this
action may be removed by Defendant to federal court pursuant to 28 U.S.C. § 1441. Removal
is proper to the Western District of Washington at Seattle because the district and division
embrace King County.

5. A true and correct copy of the Complaint served upon Defendant Merchant &

Gould, P.C. is attached hereto as Exhibit B.

6. A true and correct copy of the state court records and proceedings are attached
hereto as Exhibit C.
7. Pursuant to 28 U.S.C. § 1446, Defendant Merchant & Gould, P.C. will

promptly give written notice of the filing of this Notice of Removal to Plaintiff.

8. Pursuant to 28 U.S.C. § 1446, Defendant Merchant & Gould, P.C. will
promptly file a copy of this Notice of Removal with the Clerk of the King County Superior
Court.

/

NOTICE OF REMOVAL (CV ) —2

Davis Wright Tremaine LLP
DWT 13610749v1 0055956-000004 age oy AW OFFICES
Suite 2200 - 1201 Third Avenue
Seattle, Washington 98101-3045
(206) 622-3150 - Fax: (206) 757-7700

 
oO AHA NSN ND OD Re WD NO

NM NO tO NSO NY RO Rm eet
“a Ne ROG NOD llc COTO i OSC DN i DO ee ll HE CD

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 3 of 37

WHEREFORE, Defendant gives notice that the court action against it in King County
Superior Court has been removed from that court to the United States District Court for the
Western District of Washington at Seattle.

DATED this 3% day of December, 2009.

Davis Wright Tremaine LLP
Attorneys for Defendant

By /s/ Amy H. Pannoni
Amy H. Pannoni, WSBA #31824
Davis Wright Tremaine LLP
1201 Third Avenue, Suite 2200
Seattle, WA 98101-3045
Phone: (206) 622-3150
Fax: (206) 757-7700

Email: amypannoni@dwt.com

Richard W. Pins, Esq.
Jonathon Naples, Esq.
Leonard, Street and Deinard
Professional Association

150 S. Fifth Street, Suite 2300
Minneapolis, MN 55402
Phone: (612) 335-7007

Fax: (612) 335-1657
richard.pins@leonard.com
jonathon.naples@leonard.com

NOTICE OF REMOVAL (CV ) —3

Davis Wright Tremaine LLP
DWT 13610749v1 0055956-000004 ___.. LAW OFFICES
Suite 2200 - 1201 Third Avenue
Seattle, Washington 98101-3045
(206) 622-3150 + Fax: (206) 757-7700

 
Oo CO sD

10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 4 of 37

CERTIFICATE OF SERVICE

I hereby certify that on December 3, 2009, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the
following:
DonMullins@badgleymullins.com

AllyssaHale@badgleymullins.com

DATED this 3" day of December, 2009.

Davis Wright Tremaine LLP
Attorneys for Defendant

By /s/ Amy H. Pannoni
Amy H. Pannoni, WSBA #31824
Davis Wright Tremaine LLP
1201 Third Avenue, Suite 2200
Seattle, WA 98101-3045
Phone: (206) 622-3150
Fax: (206) 757-7700

Email: amypannoni@dwt.com

NOTICE OF REMOVAL (CV. ) —4

Davis Wright Tremaine LLP
7 LAW OFFICES
DWT 13610749v1 0055956-000004 Suite 2200 - 1201 Third Avenue
Seattle, Washington 98101-3045
(206) 622-3150 + Fax; (206) 757-7700

 
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 5 of 37

EXHIBIT A
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 6 of 37

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
DAVID L. GARRISON, an individual,
No.

Plaintiffs, )

) DECLARATION OF

v. ) TRACEY SKJEVELAND

)
MERCHANT & GOULD, P.C., a Minnesota )
professional corporation, )
)
Defendant. )
)
)
)

 

TRACEY SKJEVELAND, being duly sworn, deposes and states:

1. I am the Chief Financial Officer of Merchant & Gould, P.C. I submit
this Declaration in support of Defendant’s Notice of Removal.

2. Merchant & Gould, P.C. is a Minnesota professional corporation with its
principal place of business in Minnesota.

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS

TRUE AND CORRECT. FURTHER, DECLARANT SAITH NOT.

 
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 7 of 37

ATTACHMENT B

DWT 1715606vI 0023497-000001
BON

Oo SF N NHR Ww

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 8 of 37
FILED

09 NOV 05 PM 2:44

KING COUNTY

SUPERIOR COURT CLERK

E-FILED
CASE NUMBER: 09-2-40608-1

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF KING

Case No.:
DAVID L. GARRISON, an individual, ase we

COMPLAINT FOR DAMAGES
Plaintiff,

Vv.

professional corporation,

)

)

)

)

)

)

5

MERCHANT & GOULD, P.C., a Minnesota )
)

)

Defendant.
)

)

)

)

 

 

 

Plaintiff, David L. Garrison, by way of complaint against defendant Merchant & Gould
alleges as follows:
I PARTIES
1. Plaintiff David L. Garrison is an individual residing in Seattle, Washington.
2. Defendant Merchant & Gould, P.C. is a Minnesota professional corporation which
has an office for the transaction of business in Seattle, Washington.
Wl. JURISDICTION AND VENUE

3. This Court has subject matter jurisdiction over Defendant under RCW 2.08.010.

COMPLAINT - 1 BADGLEY ~ MULLINS
Law Group PLLC
Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 93104

 

Telephone: (206) 621-6566
Fax: (206) 621-9686

SEA
& WwW DN

NSN HD WN

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 9 of 37

4. Venue is proper under RCW 4.12.025.
I. BACKGROUND FACTS
5. On June 22, 2007, Merchant & Gould offered Mr. Garrison an Of Counsel position
at its Seattle office and the parties entered into an Employment Arrangement (“Arrangement”).
6. The Arrangement stated that “either party shall have the right to terminate this
employment arrangement for any reason upon two weeks written notice.”
7. Moreover, the Arrangement described Mr. Garrison’s compensation as follows:

[Y Jou shall be compensated based upon actual billed hours by you. .. . Actual
billed hours means hours recorded by you and billed to Merchant & Gould’s
clients and actually invoiced to clients. ... To determine your compensation, the
total hours actually billed by you for Merchant & Gould will be multiplied by an
hourly rate equivalent to 40% of the rate your hours were billed at... While
employed by Merchant & Gould, you will receive a compensation draw, payable
in bi-monthly installments, equal to 50 hours per pay period. Merchant & Gould
will adjust the draw at the end of each calendar quarter based on the actual hours
billed during the previous quarter. At the end of each calendar quarter, a
reconciliation of hours billed vs. draws paid will take place and any difference
will be adjusted for the first draw check of the subsequent quarter. .. . Should
either party terminate this arrangement, you will be compensated for any hours
billed to clients subsequent to your termination.

8. The Agreement also stated: “You shall be entitled to a promotional allowance in the
amount of $15,000 annually.”

9. When Merchant & Gould and Mr. Garrison were negotiating the Arrangement it
was agreed and understood that Mr. Garrison would bring over all of his clients.

10. Accordingly, Mr. Garrison brought his entire portfolio of approximately seventy
five (75) clients to Merchant & Gould.

11. From August 15, 2007 until April 15, 2008, Mr. Garrison’s bi-monthly draw was
$7,500. In April of 2008 Mr. Garrison’s bi-monthly draw was reduced by $2,250. Mr. Garrison

was paid under the latter arrangement until October of 2008.

COMPLAINT - 2 BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 62)-6566
Fax: (206) 621-9686

 
o,clUlUlCOlmlmUCUMUNUN ONO Ow Dk

NHN NHN NN NY RO DR ee a a ea
NSN A FP Ww NH = ODF OO BO wa DH WNW BR WW Bp ww

 

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 10 of 37

12. Mr. Garrison made numerous purchases on his business credit card with the
expectation that Merchant & Gould would reimburse him from his promotional allowance.
Merchant & Gould failed to reimburse Mr. Garrison for all of the expenses he incurred.

13. On October 30, 2008, Merchant & Gould terminated Mr. Garrison without any
notice or warning.

14. During the springtime of 2008, Mr. Garrison and Randy King discussed Mr.
Garrison’s compensation for new litigation matters which he brought in to Merchant & Gould.
To that end, Randy King stated he would be rewarded for his efforts in the form of a yearend
bonus. On at least two other occasions, he reaffirmed this promise.

15, With the understanding that he would be compensated for bringing in new clients,
Mr. Garrison signed up numerous litigation matters during his tenure at Merchant & Gould.
The new matters resulted in hundreds of thousands of dollars in client billings.

16. Merchant & Gould never fulfilled its promise of a bonus.

17. Merchant & Gould failed to pay Mr. Garrison pursuant to the terms of his contract.

IV. CAUSES OF ACTION
Breach of Contract

18. Mr. Garrison and Merchant & Gould entered into a valid contract.

19. Mr. Garrison performed pursuant to the terms of the contract.

20. Merchant & Gould failed without legal justification to fulfill its obligations under
the contract when it (1) terminated Mr. Garrison’s employment and did not provide him with
two weeks notice prior to the termination (2) failed to pay Mr. Garrison under the terms of the

contract, and (3) failed to reimburse Mr. Garrison for promotional expenses.

COMPLAINT - 3 BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Pax: (206) 621-9686

 
A PF W

Oo © SD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 11 of 37

21. Mr. Garrison has suffered damages as a result of Defendant’s breach of its
contractual obligations in an amount to be proven at trial.

Failure to Pay All Final Wages as Required Under RCW 49.48.010

22. RCW 49.48.010 requires an employer to pay all wages owed to a terminated
employee at the end of the established pay period.

23. Following Mr. Garrison’s termination on October 30, 2008, Merchant & Gould
failed to pay Plaintiff all wages owed by the end of the established pay period.

24. By failing to timely pay Plaintiff all final wages owed to Plaintiff, Merchant &
Gould violated RCW 49.48.010.

25. Asa direct and proximate result of Merchant & Gould’s unlawful conduct, Plaintiff
has suffered and continues to suffer economic damages in an amount to be proven at trial.

Exemplary Damages Under RCW 49.52.050

26. By acting willfully and with intent to deprive Mr. Garrison of his wages, including
wages owed under the terms of PlaintifP s contract and under RCW 49.48.010, Defendant has
violated RCW 49.52.050.

27. Asa direct and proximate result of Merchant & Gould’s unlawful conduct, Mr.
Garrison is entitled to recover exemplary (double) damages, costs of suit and reasonable
attorney’s fees pursuant to RCW 49.52.070.

Breach of Oral Contract

28. Merchant & Gould promised orally to Mr. Garrison that it would pay him a yearend

bonus based on its existing practice of giving bonuses to lawyers who brought in new legal

matters to the firm.

29. The bonus constituted a binding and enforceable contract between the parties.

COMPLAINT - 4 : BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9686

 
oo SN A OS

‘oO

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 12 of 37

30. Mr. Garrison signed up about nine litigation matters during his tenure at Merchant
& Gould. The nine matters resulted in hundreds of thousands of dollars in billings to clients,
thus meeting the conditions to earn a bonus.

31. Merchant & Gould breached this contract by wrongfully refusing to pay Plaintiff the
amount owing and due under the agreement for a yearend bonus.

Consumer Protection Act 19.86.020

32. Merchant & Gould is in the practice of soliciting and/or hiring lawyers in the Seattle
area who have client portfolios and strong relationships within the legal community.

33. Defendant hired Mr. Garrison who in turn brought his portfolio to the practice.

34. Without notice or warning, Defendant terminated its relationship with Mr. Garrison
after his clients had been transferred to Merchant & Gould.

35. Immediately upon termination, Plaintiff was refused access to the subject files and
client contact information.

36. Further, on information and belief, Merchant & Gould, prior to termination or
immediately thereupon, commenced efforts, both orally and in writing, to contact said clients in
order to obtain their consent to remain at Merchant & Gould.

37. The sudden termination provided Merchant & Gould with a significant advantage in
contacting these clients.

38. Merchant & Gould caused Mr. Garrison to believe they were working towards a
mutually beneficial goal, while a primary motive was to acquire Mr. Garrison’s client base to

enhance its own practice.

COMPLAINT - 5 BADGLEY ~ MULLINS

Law Grour PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9636

 
mo Fe SN DR A BR |] HT me

NH NY KN NY NY RN NR meee at
n A FF W NH - DGD OO Oo DD WH BP YW PH YF oO

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 13 of 37

39. On information and belief Merchant & Gould continues to solicit within the legal
community, its deceptive and unfair practices pose a substantial threat to the public at large and
specifically to members in the Washington legal communities.

40. Defendant’s practice and operation depends on the aforementioned solicitation to
acquire new matters and expand its client base; thus, its wrongful acts, as alleged herein, are
likely to be repeated.

41. Through its deceptive acts and unfair practices, Merchant & Gold is in violation of
the Washington State Consumer Protection Act, RCW 19.86.020.

42. Asa direct and proximate cause of Merchant and Gould’s actions, Mr. Garrison has
suffered injuries to his practice and other damages to be proven at trial.

V. REQUEST FOR RELIEF
WHEREFORE, Plaintiff prays for relief as follows:
A. For actual damages in an amount to be proven at trial;
B. For exemplary damages to the extent provided by RCW 19.86.020, RCW
49.52.070, and any other applicable law;
C. For injunctive relief to the extent provided by any applicable law;
D. For an award of attorneys fees, costs and investigative fees as provided by RCW
19.86.020, RCW 49.48.030, RCW 49.52.070 and any other applicable law; and
E. For such other and further relief as the court deems proper.
/
H/
H

Mt

COMPLAINT - 6 BADGLEY ~ MULLINS

Law Grour PLLC

Columbia Center
70) Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 625-6566
Fax: (206) 621-9686

 
oOo 68 sS N DW FB WD WH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 14 of 37

DATED this 5 day of November, 2009.

BADGLEY~MULLINS LAW GROUP PLLC

yon f Hohe

Donald/H. Myllins, WSBA #4966
Allyssa J. Hale, WSBA #38429
Attorneys for Plaintiff

COMPLAINT - 7 BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9686

 
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 15 of 37

EXHIBIT C
“ao “DN

oO

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 16 of 37

FILED

09 NOV 05 PM 2:44

KING COUNTY

SUPERIOR COURT CLERK

E-FILED
CASE NUMBER: 09-2-40608-1

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF KING

. Case No.:
DAVID L. GARRISON, an individual,

COMPLAINT FOR DAMAGES
Plaintiff,

Vv.

MERCHANT & GOULD, P.C., a Minnesota
professional corporation,

Defendant.

Nem! Sense” See! Noemie! Snes Smet! Sage Seow Seer! “ome! Some! Smet! Seg Smet Smee! Saget Senge?

 

 

 

Plaintiff, David L. Garrison, by way of complaint against defendant Merchant & Gould
alleges as follows:
I. PARTIES
1. Plaintiff David L. Garrison is an individual residing in Seattle, Washington.
2. Defendant Merchant & Gould, P.C. is a Minnesota professional corporation which
has an office for the transaction of business in Seattle, Washington.
IL. JURISDICTION AND VENUE

3. This Court has subject matter jurisdiction over Defendant under RCW 2.08.010.

COMPLAINT - I BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104
Telcphone: (206) 621-6566

 

Fax: (206) 621-9686

SEA
SN DH Ww & WW Wb

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 17 of 37

4. Venue is proper under RCW 4.12.025.
Il. BACKGROUND FACTS
5. On June 22, 2007, Merchant & Gould offered Mr. Garrison an Of Counsel position
at its Seattle office and the parties entered into an Employment Arrangement (“Arrangement”).
6. The Arrangement stated that “either party shall have the right to terminate this
employment arrangement for any reason upon two weeks written notice.”
7. Moreover, the Arrangement described Mr. Garrison’s compensation as follows:

[Y]ou shall be compensated based upon actual billed hours by you. .. . Actual
billed hours means hours recorded by you and billed to Merchant & Gould’s
clients and actually invoiced to clients. . .. To determine your compensation, the
total hours actually billed by you for Merchant & Gould will be multiplied by an
hourly rate equivalent to 40% of the rate your hours were billed at. . . While
employed by Merchant & Gould, you will receive a compensation draw, payable
in bi-monthly installments, equal to 50 hours per pay period. Merchant & Gould
will adjust the draw at the end of each calendar quarter based on the actual hours
billed during the previous quarter. At the end of each calendar quarter, a
reconciliation of hours billed vs. draws paid will take place and any difference
will be adjusted for the first draw check of the subsequent quarter. . . . Should
either party terminate this arrangement, you will be compensated for any hours
billed to clients subsequent to your termination.

8. The Agreement also stated: “You shall be entitled to a promotional allowance in the
amount of $15,000 annually.”

9. When Merchant & Gould and Mr. Garrison were negotiating the Arrangement it
was agreed and understood that Mr. Garrison would bring over all of his clients.

10. Accordingly, Mr. Garrison brought his entire portfolio of approximately seventy
five (75) clients to Merchant & Gould.

11. From August 15, 2007 until April 15, 2008, Mr. Garrison’s bi-monthly draw was
$7,500. In April of 2008 Mr. Garrison’s bi-monthly draw was reduced by $2,250. Mr. Garrison

was paid under the latter arrangement until October of 2008.

COMPLAINT - 2 BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206} 621-6566
Fax: (206) 621-9686

 
NY DH FH FSF YW WY

10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 18 of 37

12. Mr. Garrison made numerous purchases on his business credit card with the
expectation that Merchant & Gould would reimburse him from his promotional allowance.
Merchant & Gould failed to reimburse Mr. Garrison for all of the expenses he incurred.

13. On October 30, 2008, Merchant & Gould terminated Mr. Garrison without any
notice or warning.

14. During the springtime of 2008, Mr. Garrison and Randy King discussed Mr.
Garrison’s compensation for new litigation matters which he brought in to Merchant & Gould.
To that end, Randy King stated he would be rewarded for his efforts in the form of a yearend
bonus. On at least two other occasions, he reaffirmed this promise.

15. With the understanding that he would be compensated for bringing in new clients,
Mr. Garrison signed up numerous litigation matters during his tenure at Merchant & Gould.
The new matters resulted in hundreds of thousands of dollars in client billings.

16. Merchant & Gould never fulfilled its promise of a bonus.

17. Merchant & Gould failed to pay Mr. Garrison pursuant to the terms of his contract.

IV. CAUSES OF ACTION
Breach of Contract

18. Mr. Garrison and Merchant & Gould entered into a valid contract.

19. Mr. Garrison performed pursuant to the terms of the contract.

20. Merchant & Gould failed without legal justification to fulfill its obligations under
the contract when it (1) terminated Mr. Garrison’s employment and did not provide him with
two weeks notice prior to the termination (2) failed to pay Mr. Garrison under the terms of the

contract, and (3) failed to reimburse Mr. Garrison for promotional expenses.

COMPLAINT - 3 BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9686

 
k WwW HN

oOo OS NN DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 19 of 37

21. Mr. Garrison has suffered damages as a result of Defendant’s breach of its
contractual obligations in an amount to be proven at trial.

Failure to Pay All Final Wages as Required Under RCW 49.48.010

22. RCW 49.48.010 requires an employer to pay all wages owed to a terminated
employee at the end of the established pay period.

23. Following Mr. Garrison’s termination on October 30, 2008, Merchant & Gould
failed to pay Plaintiff all wages owed by the end of the established pay period.

24. By failing to timely pay Plaintiff all final wages owed to Plaintiff, Merchant &
Gould violated RCW 49.48.010.

25. Asa direct and proximate result of Merchant & Gould’s unlawful conduct, Plaintiff
has suffered and continues to suffer economic damages in an amount to be proven at trial.

Exemplary Damages Under RCW 49.52.050

26. By acting willfully and with intent to deprive Mr. Garrison of his wages, including
wages owed under the terms of Plaintiff's contract and under RCW 49.48.010, Defendant has
violated RCW 49.52.050.

27. Asa direct and proximate result of Merchant & Gould’s unlawful conduct, Mr.
Garrison is entitled to recover exemplary (double) damages, costs of suit and reasonable
attorney’s fees pursuant to RCW 49.52.070.

Breach of Oral Contract

28. Merchant & Gould promised orally to Mr. Garrison that it would pay him a yearend
bonus based on its existing practice of giving bonuses to lawyers who brought in new legal
matters to the firm.

29. The bonus constituted a binding and enforceable contract between the parties.

COMPLAINT - 4 . BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9686

 
a DH WA B&B W WH

10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 20 of 37

30. Mr. Garrison signed up about nine litigation matters during his tenure at Merchant
& Gould. The nine matters resulted in hundreds of thousands of dollars in billings to clients,
thus meeting the conditions to earn a bonus.

31. Merchant & Gould breached this contract by wrongfully refusing to pay Plaintiff the
amount owing and due under the agreement for a yearend bonus.

Consumer Protection Act 19.86.020

32. Merchant & Gould is in the practice of soliciting and/or hiring lawyers in the Seattle
area who have client portfolios and strong relationships within the legal community.

33. Defendant hired Mr. Garrison who in turn brought his portfolio to the practice.

34. Without notice or warning, Defendant terminated its relationship with Mr. Garrison
after his clients had been transferred to Merchant & Gould.

35. Immediately upon termination, Plaintiff was refused access to the subject files and
client contact information.

36. Further, on information and belief, Merchant & Gould, prior to termination or
immediately thereupon, commenced efforts, both orally and in writing, to contact said clients in
order to obtain their consent to remain at Merchant & Gould.

37. The sudden termination provided Merchant & Gould with a significant advantage in
contacting these clients.

38. Merchant & Gould caused Mr. Garrison to believe they were working towards a
mutually beneficial goal, while a primary motive was to acquire Mr. Garrison’s client base to

enhance its own practice.

COMPLAINT - 5 BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telcophone: (206) 621-6566
Fax: (206) 621-9686

 
Oo CO NT DBD OH S&F WCW KH

NN NO KO RD RD RD RD em mt
nH A B&B WD NO |§ CO OBO fF JT DB WN BF WH PO KF |

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 21 of 37

39. On information and belief Merchant & Gould continues to solicit within the legal
community, its deceptive and unfair practices pose a substantial threat to the public at large and
specifically to members in the Washington legal communities.

40. Defendant’s practice and operation depends on the aforementioned solicitation to
acquire new matters and expand its client base; thus, its wrongful acts, as alleged herein, are
likely to be repeated.

41. Through its deceptive acts and unfair practices, Merchant & Gold is in violation of
the Washington State Consumer Protection Act, RCW 19.86.020.

42. Asa direct and proximate cause of Merchant and Gould’s actions, Mr. Garrison has
suffered injuries to his practice and other damages to be proven at trial.

V. REQUEST FOR RELIEF
WHEREFORE, Plaintiff prays for relief as follows:
A. For actual damages in an amount to be proven at trial;
B. For exemplary damages to the extent provided by RCW 19.86.020, RCW
49.52.070, and any other applicable law;
C. For injunctive relief to the extent provided by any applicable law;
D. For an award of attorneys fees, costs and investigative fees as provided by RCW
19.86.020, RCW 49.48.030, RCW 49.52.070 and any other applicable law; and
E. For such other and further relief as the court deems proper.
H
HM
/

H

COMPLAINT - 6 BADGLEY ~ MULLINS

Law Grour PLLC

Columbia Center
JO! Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9686

 
co Oo SN HNO A

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 22 of 37

DATED this 5" day of November, 2009.

BADGLEY~MULLINS LAW GROUP PLLC

yoo ff Hake.

Donal@/H. Myllins, WSBA #4966
Allyssa J. Hale, WSBA #38429
Attorneys for Plaintiff

COMPLAINT - 7 BADGLEY ~ MULLINS

Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9686

 
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 23 of 37

FILED

09 NOV 05 PM 2:44

KING COUNTY
SUPERIOR COURT CLERK
E-FILED
CASE NUMBER: 09-2-40608-1 SEA

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF KING

David L. Garrison, an individual NO. 09-2-40608-1 SEA
Order Setting Civil Case Schedule (“ORSCS)

vs Plaintiff(s)

Merchant & Gould, P.C., a Minnesota professional ASSIGNED JUDGE Gonzalez 5

corporation FILE DATE: 41/05/2009
Defendant(s)| TRIAL DATE: 05/02/2011

 

A civil case has been filed in the King County Superior Court and will be managed by the Case Schedule
on Page 3 as ordered by the King County Superior Court Presiding Judge.

|. NOTICES

NOTICE TO PLAINTIFF: The Plaintiff may serve a copy of this Order Setting Case Schedule
(Schedule) on the Defendant(s) along with the Summons and Complaint/Petition. Otherwise, the
Plaintiff shall serve the Schedule on the Defendant(s) within 10 days after the later of: (1) the filing of the
Summons and Compilaint/Petition or (2) service of the Defendant's first response to the
Complaint/Petition, whether that response is a Notice of Appearance, a response, or a Civil Rule 12
(CR 12) motion. The Schedule may be served by regular mail, with proof of mailing to be filed promptly in
the form required by Civil Rule 5 (CR 5).

"| understand that | am required to give a copy of these documents fo all parties in this case."

Print Name Sign Name

Order Setting Civil Case Schedule (*ORSCS) REV.12/08 4
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 24 of 37

|. NOTICES (continued)

NOTICE TO ALL PARTIES:

All attorneys and parties should make themselves familiar with the King County Local Rules [KCLR] --
especially those referred to in this Schedule. In order to comply with the Schedule, it will be necessary fo!
attorneys and parties to pursue their cases vigorously from the day the case is filed. For example,
discovery must be undertaken promptly in order to comply with the deadlines for joining additional parties,
claims, and defenses, for disclosing possible witnesses [See KCLCR 26], and for meeting the discovery
cutoff date [See KCLCR 37(g)].

CROSSCLAIMS, COUNTERCLAIMS AND THIRD PARTY COMPLAINTS:

A filing fee of $200 must be paid when any answer that includes additional claims is filed in an existing
case.

KCLCR 4.2(a)(2)

A Confirmation of Joinder, Claims and Defenses or a Statement of Arbitrability must be filed by the
deadline in the schedule. The court will review the confirmation of joinder document to determine if a
hearing is required. If a Show Cause order is issued, all parties cited in the order must appear before
their Chief Civil Judge.

PENDING DUE DATES CANCELED BY FILING PAPERS THAT RESOLVE THE CASE:

When a final decree, judgment, or order of dismissal of all parties and claims is filed with the Superior
Court Clerk's Office, and a courtesy copy delivered to the assigned judge, all pending due dates in this
Schedule are automatically canceled, including the scheduled Trial Date. It is the responsibility of the
parties to 1) file such dispositive documents within 45 days of the resolution of the case, and 2) strike any
pending motions by notifying the bailiff to the assigned judge.

Parties may also authorize the Superior Court to strike all pending due dates and the Trial Date by filing a
Notice of Settlement pursuant to KCLCR 41, and forwarding a courtesy copy to the assigned judge. If a
final decree, judgment or order of dismissal of all parties and claims is not filed by 45 days after a Notice
of Settlement, the case may be dismissed with notice.

If you miss your scheduled Trial Date, the Superior Court Clerk is authorized by KCLCR 41(b)(2)(A) to
present an Order of Dismissal, without notice, for failure to appear at the scheduled Trial Date.

NOTICES OF APPEARANCE OR WITHDRAWAL AND ADDRESS CHANGES:

All parties to this action must keep the court informed of their addresses. When a Notice of
Appearance/Withdrawal or Notice of Change of Address is filed with the Superior Court Clerk's Office,
parties must provide the assigned judge with a courtesy copy.

ARBITRATION FILING AND TRIAL DE NOVO POST ARBITRATION FEE:

A Statement of Arbitrability must be filed by the deadline on the schedule if the case is subject to
mandatory arbitration and service of the original complaint and all answers to claims, counterclaims and
cross-claims have been filed. If mandatory arbitration is required after the deadline, parties must obtain
an order from the assigned judge transferring the case to arbitration. Any party filing a Statement must
pay a $220 arbitration fee. If a party seeks a trial de novo when an arbitration award is appealed, a fee ol
$250 and the request for trial de novo must be filed with the Clerk’s Office Cashiers.

NOTICE OF NON-COMPLIANCE FEES:
All parties will be assessed a fee authorized by King County Code 4.71.050 whenever the Superior Court
Clerk must send notice of non-compliance of schedule requirements and/or Local Civil Rule 41.

King County Local Rules are available for viewing at www.kingcounty.gov/courts/clerk.

Order Setting Civil Case Schedule (“ORSCS) REV. 12/08 2
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 25 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ll. CASE SCHEDULE
DEADLINE
or Filing
CASE EVENT EVENT DATE Needed
Case Filed and Schedule Issued. Thu 11/05/2009 *
Last Day for Filing Statement of Arbitrability without a Showing of Good Thu 04/15/2010 *
Cause for Late Filing [See KCLMAR 2.1(a) and Notices on Page 2].
$220 arbitration fee must be paid
DEADLINE to file Confirmation of Joinder if not subject to Arbitration. Thu 04/15/2010 *
[See KCLCR 4.2(a) and Notices on Page 2].
DEADLINE for Hearing Motions to Change Case Assignment Area. Thu 04/29/2010
[See KCLCR 82/e)]
DEADLINE for Disclosure of Possible Primary Witnesses Mon 11/29/2010
[See KCLCR 26(b)].
DEADLINE for Disclosure of Possible Additional Witnesses Mon 01/10/2011
[See KCLCR 26(b)).
DEADLINE for Jury Demand [See KCLCR 38(b)(2)]. Mon 01/24/2011 *
DEADLINE for Setting Motion for a Change in Trial Date Mon 01/24/2011 *
[See KCLCR 40(a)(2)].
DEADLINE for Discovery Cutoff [See KCLCR 37(g)). Mon 03/14/2011
DEADLINE for Engaging in Alternative Dispute Resolution [See KCLCR Mon 04/04/2011
16(b)).
DEADLINE for Exchange Witness & Exhibit Lists & Documentary Exhibits | Mon 04/11/2011
[See KCLCR 4())].
DEADLINE to file Joint Confirmation of Trial Readiness Mon 04/11/2011 *
[See KCLCR 16(a)(2)]
DEADLINE for Hearing Dispositive Pretrial Motions [See KCLCR 56; CR Mon 04/18/2011
56].
Joint Statement of Evidence [See KCLCR (4)(k)]. Mon 04/25/2011 *
DEADLINE for filing Trial Briefs, Proposed Findings of Fact and Mon 04/25/2011 *

Conclusions of Law and Jury Instructions (Do not file Proposed Findings of

Fact and Conclusions of Law with the Clerk)

 

 

Trial Date [See KCLCR 40].

Mon 05/02/2011

 

 

 

Ill. ORDER

Pursuant to King County Local Civil Rule 4 [KCLCR 4], IT IS ORDERED that the parties shall comply with
the schedule listed above. Penalties, including but not limited to sanctions set forth in Local Civil Rule 4(g)
and Rule 37 of the Superior Court Civil Rules, may be imposed for non-compliance. It is FURTHER

ORDERED that the party filing this action must serve this Order Setting Civil Case Schedule and

L Ai pl AG

attachment on all other parties.

DATED: 11/05/2009

 

Order Setting Civil Case Schedule (*"ORSCS)

PRESIDING JUDGE

REV. 12/08 3
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 26 of 37

IV. ORDER ON CIVIL PROCEEDINGS FOR ASSIGNMENT TO JUDGE

READ THIS ORDER BEFORE CONTACTING YOUR ASSIGNED JUDGE

This case is assigned to the Superior Court Judge whose name appears in the caption of this case
schedule. The assigned Superior Court Judge will preside over and manage this case for all pretrial
matters.

COMPLEX LITIGATION: If you anticipate an unusually complex or lengthy trial, please notify the
assigned court as soon as possible.

APPLICABLE RULES: Except as specifically modified below, all the provisions of King County Local
Civil Rules 4 through 26 shall apply to the processing of civil cases before Superior Court Judges. The
local civil rules can be found at http:/Avww.kingcounty.gov/courts/superiorcourt/civil.aspx .

CASE SCHEDULE AND REQUIREMENTS
Deadlines are set by the case schedule, issued pursuant to Local Civil Rule 4.

THE PARTIES ARE RESPONSIBLE FOR KNOWING AND COMPLYING WITH ALL DEADLINES
IMPOSED BY THE COURT’S LOCAL CIVIL RULES.

A. Joint Confirmation regarding Trial Readiness Report:

No later than twenty one (21) days before the trial date, parties shall complete and file (with a copy to the
assigned judge) a joint confirmation report setting forth whether a jury demand has been filed, the
expected duration of the trial, whether a settlement conference has been held, and special problems and
needs (e.g. interpreters, equipment, etc.).

The form is available at http:/Awww.kingcounty.gov/courts/superiorcourt.aspx . If parties wish to request
a CR 16 conference, they must contact the assigned court. Plaintiffs/petitioner’s counsel is responsible
for contacting the other parties regarding said report.

B. Settlement/Mediation/ADR

a. Forty five (45) days before the trial date, counsel for plaintiff/petitioner shall submit a written settlement
demand. Ten (10) days after receiving plaintiffs/petitioner’s written demand, counsel for
defendant/respondent shall respond (with a counter offer, if appropriate).

b. Twenty eight (28) days before the trial date, a Settlement/Mediation/ADR conference shall have been
held. FAILURE TO COMPLY WITH THIS SETTLEMENT CONFERENCE REQUIREMENT MAY
RESULT IN SANCTIONS.

C. Trial: Trial is scheduled for 9:00 a.m. on the date on the case schedule or as soon thereafter as
convened by the court. The Friday before trial, the parties should access the King County Superior Cour
website http:/Avww.kingcounty.gov/courts/superiorcourt.aspx to confirm trial judge assignment.
Information can also be obtained by calling (206) 205-5984.

MOTIONS PROCEDURES
A. Noting of Motions

Dispositive Motions: All summary judgment or other dispositive motions will be heard with oral
argument before the assigned judge. The moving party must arrange with the hearing judge a date and
time for the hearing, consistent with the court rules. Local Civil Rule 7 and Local Civil Rule 56 govern
procedures for summary judgment or other motions that dispose of the case in whole or in part. The
local civil rules can be found at http://Awww.kingcounty.gov/courts/superiorcourt/civil.aspx.
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 27 of 37

Nondispositive Motions: These motions, which include discovery motions, will be ruled on by the
assigned judge without oral argument, unless otherwise ordered. All such motions must be noted for a
date by which the ruling is requested; this date must likewise conform to the applicable notice
requirements. Rather than noting a time of day, the Note for Motion should state “Without Oral
Argument.” Local Civil Rule 7 governs these motions, which include discovery motions. The local civil
rules can be found at http:/Avww.kingcounty.gov/courts/superiorcourt/civil.aspx.

Motions in Family Law Cases not involving children: Discovery motions to compel, motions in limine,
motions relating to trial dates and motions to vacate judgments/dismissals shall be brought before the
assigned judge. All other motions should be noted and heard on the Family Law Motions calendar.
Local Civil Rule 7 and King County Family Law Loca! Rules govern these procedures. The local rules
can be found at http://www. kingcounty.gov/courts/superiorcourt/civil.aspx.

Emergency Motions: Under the court's local civil rules, emergency motions will be allowed only upon
entry of an Order Shortening Time. However, emergency discovery disputes may be addressed by
telephone call and without written motion, if the judge approves.

B. Original Documents/Working Copies/ Filing of Documents

All original documents must be filed with the Clerk’s Office. Please see information on
the Clerk’s Office website at www.kingcounty.gov/courts/clerk regarding the new requirement
outlined in LGR 30 that attorneys must e-file documents in King County Superior Court. The
exceptions to the e-filing requirement are also available on the Clerk’s Office website.

The working copies of all documents in support or opposition must be marked on the upper
right corner of the first page with the date of consideration or hearing and the name of the
assigned judge. The assigned judge’s working copies must be delivered to his/her courtroom
or the Judges’ mailroom. Working copies of motions to be heard on the Family Law Motions
Calendar should be filed with the Family Law Motions Coordinator. On June 1, 2009 you will
be able to submit working copies through the Clerk’s office E-Filing application at

www. kingcounty.gov/courts/clerk.

Service of documents. E-filed documents may be electronically served on parties who opt in
to E-Service within the E-Filing application. The filer must still serve any others who are
entitled to service but who have not opted in. E-Service generates a record of service
document that can be e-filed. Please see information on the Clerk’s office website at
www.kingcounty.gov/courts/clerk regarding E-Service.

Original Proposed Order: Each of the parties must include an original proposed order granting
requested relief with the working copy materials submitted on any motion. Do not file the original of the
proposed order with the Clerk of the Court. Should any party desire a copy of the order as signed and
filed by the judge, a pre-addressed, stamped envelope shall accompany the proposed order.

Presentation of Orders: All orders, agreed or otherwise, must be presented to the assigned judge. If
that judge is absent, contact the assigned court for further instructions. If another judge enters an order
on the case, counsel is responsible for providing the assigned judge with a copy.
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 28 of 37

Proposed orders finalizing settlement and/or dismissal by agreement of all parties shall be
presented to the assigned judge or in the Ex Parte Department. Formal proof in Family Law cases
must be scheduled before the assigned judge by contacting the bailiff, or formal proof may be entered in
the Ex Parte Department. If final order and/or formal proof are entered in the Ex Parte Department,
counsel is responsible for providing the assigned judge with a copy.

Cc. Form

Memoranda/briefs for matters heard by the assigned judge may not exceed twenty four (24) pages for
dispositive motions and twelve (12) pages for nondispositive motions, unless the assigned judge permits
over-length memoranda/briefs in advance of filing. Over-length memoranda/briefs and motions
supported by such memoranda/briefs may be stricken.

ITIS SO ORDERED. FAILURE TO COMPLY WITH THE PROVISIONS OF THIS ORDER MAY
RESULT IN DISMISSAL OR OTHER SANCTIONS. PLAINTIFF/PEITITONER SHALL FORWARD A
COPY OF THIS ORDER AS SOON AS PRACTICABLE TO ANY PARTY WHO HAS NOT RECEIVED
THIS ORDER.

a . _

ae

 

PRESIDING JUDGE
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 29 of 37

King County
Department of Judicial Administration
Superior Court Clerk's Office

IMPORTANT NOTICE
KING COUNTY SUPERIOR COURT HEARING LOCATIONS WILL CHANGE
IF THE MALENG REGIONAL JUSTICE CENTER IN KENT IS EVACUATED
Potential serious flooding of the Green River Valley is a possibility this year based on issues with the
Howard Hanson Dam. The US Army Corps of Engineers is making the necessary repairs to the dam;

however until the work is completed, the Maleng Regional Justice Center in Kent will be on an
evacuation alert status.

The Clerk's Office and Superior Court remains committed to providing good customer service throughout
the flood evacuation period. If it becomes necessary to evacuate the Maleng Regional Justice Center

and relocate the courtrooms, location changes to scheduled court proceedings at the King County
Courthouse in Seattle may also occur.

If you have a court proceeding scheduled either at the King County Courthouse in Seattle or at
the Maleng Regional Justice Center in Kent, please call (206) 296-9300 to find out if there is a
change to the location of your court proceeding. Call within 2 days of your scheduled court date
for the latest information.

Updated information will also be posted here:

King County Superior Court's website: http:/Avww.kingcounty.gov/courts/superiorcourt
King County Clerk's Office website: http:/Awww.kingcounty.gov/courts/Clerk

We thank you for your patience during this time.
Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 30 of 37

FILED

09 NOV 05 PM 2:44

KING COUNTY
SUPERIOR COURT CLERK
E-FILED
CASE NUMBER: 09-2-40608-1 SEA

SUPERIOR COURT OF WASHINGTON
COUNTY OF KING

David L. Garrison, an individual NO. 09-2-40608-1 SEA

VS
CASE INFORMATION COVER SHEET

Merchant & Gould, P.C., a Minnesota pr} AND AREA DESIGNATION

 

CAUSE OF ACTION
(COM) - CONTRACT/COMMERCIAL

AREA DESIGNATION

SEATTLE - Defined as all King County north of Interstate 90 and including all
of Interstate 90 right of way, all of the cities of Seattle, Mercer
Island, Issaquah, and North Bend, and all of Vashon and Maury
Islands.
bk Ww WN

“s HA A

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 31 of 37

FILED

09 NOV 05 PM 2:44

KING COUNTY
SUPERIOR COURT CLERF
E-FILED

CASE NUMBER: 09-2-40608-

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF KING

DAVID L. GARRISON, an individual,

Case No.:
Plaintiff,
SUMMONS
v.

MERCHANT & GOULD, P.C., a Minnesota
professional corporation,

Defendant.

Nnwsee!” Nene! Newer? ease! Seer! Seas” Seewe! Semel! Seu! Seana! Sense! Sane! See Sree? See?

 

 

 

TO: MERCHANT & GOULD, P.C.

A lawsuit has been started against you in the above entitled court by David L. Garrison,
plaintiff. Plaintiff's claim is stated in the written complaint, a copy of which is served upon you
with this summons.

In order to defend against this lawsuit, you must respond to the complaint by stating your
defense in writing, and by serving a copy upon the person signing this summons within 20 days
after the service of this summons, excluding the day of service, or a default judgment may be

entered against you without notice. A default judgment is one where plaintiff is entitled to what

SUMMONS - 1 BADGLEY ~ MULLINS

Law Grove PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9686

RK

1 SEA

 
oO eo ~~ DH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 32 of 37

he asks for because you have not responded. If you serve a notice of appearance on the
undersigned person, you are entitled to notice before a default judgment may be entered.

You may demand that the plaintiff file this lawsuit with the court. If you do so, the
demand must be in writing and must be served upon the person signing this summons. Within
14 days after you serve the demand, the plaintiff must file this lawsuit with the court, or the
service on you of this summons and complaint will be void.

If you wish to seek the advice of an attorney in this matter, you should do so promptly so
that your written response, if any, may be served on time. |

This summons is issued pursuant to Rule 4 of the Superior Court Civil Rules of the State

of Washington.

DATED this 5" day of November, 2009.

BADGLEY~MULLINS LAW GROUP PLLC

aan as

Donald ulfins, WSBA #4966
Allyssa/J . WSBA #38429
Attorneys for Plaintiff David L. Garrison

SUMMONS - 2 BADGLEY ~ MULLINS
Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9686

 
oO wo ns DN

10

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 33 of 37

FILED

09 NOV 09 PM 3:29

KING COUNTY
SUPERIOR COURT CLERK
E-FILED

CASE NUMBER: 09-2-40608-+1 SEA

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF KING

DAVID L. GARRISON, an individual,

Case No.: 09-2-40608-1 SEA
Plaintiff,
DECLARATION OF SERVICE OF

v. SUMMONS AND COMPLAINT

MERCHANT & GOULD, P.C., a Minnesota
professional corporation, and

Defendant.

eee ree rs

 

I, Ben Stephens, file clerk for Badgley Mullins Law Group PLLC hereby declare that
now and at all times herein mentioned, I am a citizen of the United States and a resident of the
State of Washington, over the age of 18, not a party in the above entitled action, and is
competent to be a witness therein. |

On November 5, 20098 at 2:58p.m. at the address of 701 Fifth Avenue, Suite 4100,
Seattle, WA 98104, within the County of King, State of Washington, I duly served the Case
Information Cover Sheet and Area Designation, Order Setting Civil Case Schedule, Summons,
and Complaint upon Merchant & Gould, P.C. by then and there personally delivering the original

documents by presenting to and leaving the same with Kayla Butcher, office manager.

‘DECLARATION OF SERVICE OF SUMMONS AND BADGLEY ~ MULLINS
COMPLAINT - ] Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 93104

Telephone: (206) 621-6566
Fax: (206) 621-9686

 
SNS DBD WH Hh WHO

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 34 of 37

[hereby declare under penalty of perjury under the laws of the State of Washington that

the foregoing is true and correct.

DATED this 5" day of November, 2009 in Seattle, Washington.

EB

Ben Stephens, File Clerk

DECLARATION OF SERVICE OF SUMMONS AND BADGLEY ~ MULLINS
COMPLAINT - 2 Law Group PLLC

Columbia Center
701 Fifth Avenue, Suite 4750
Seattle, Washington 98104

Telephone: (206) 621-6566
Fax: (206) 621-9686

 
mo Co SN NON TH Ee WY NY

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 35 of 37

FILED

09 NOV 24 AM 10:07

The Honorable S#é4e8 @ni2alez
SUPERIOR COURT CLERK

E-FILED
CASE NUMBER: 09-2-40608-1 §

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF KING

 

 

DAVID L. GARRISON, an individual, )
)

Plaintiff, ; No. 09-2-40608-1 SEA

V. NOTICE OF APPEARANCE
MERCHANT & GOULD, P.C., a Minnesota )
professional corporation, )
)
Defendant. )
_)
TO: DAVID L. GARRISON, Plaintiff

AND TO: DONALD H. MULLINS, of BADGLEY ~ MULLINS, Attorneys for Plaintiff
PLEASE TAKE NOTICE THAT Merchant & Gould, P.C., the defendant above-named,

without waiving any defenses it may have based on insufficiency of process or insufficiency of

service of process, and specifically and expressly reserving its right to raise these defenses by

motion or answer, hereby make and enter its appearance in the above-entitled action by its

undersigned attorneys and requests that all future papers or pleadings except original process be

served upon its said attorneys at their address stated below.

/

/

/

/

/

NOTICE OF APPEARANCE - 1 Davis Wright Tremaine LLP

LAW OFFICES
SEA 13608106vI 55956-4 Suite 2200 + 1201 Third Avenue
Seattle, Washington 98101-3045

 

(206) 622-3150 + Fax: (206) 757-7700

EA
&k Ww N

Oo SS SI DH WN

10
11
12
13
14
15
16
17
18

19

20
21
22
23
24
25
26
27

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 36 of 37

DATED this 24" day of November, 2009.

NOTICE OF APPEARANCE - 2
SEA 13608106v1 55956-4

Davis Wright Tremaine LLP
Attorneys for Defendant

Amy H/Pannoni, WSBA #31824
Davis Wright Tremaine LLP
1201 Third Avenue, Suite 2200
Seattle, WA 98101-3045

Phone: (206) 622-3150

Fax: (206) 757-7700

Email: amypannoni@dwt.com

Richard W. Pins, Esq.
Leonard, Street and Deinard
Professional Association

150 S. Fifth Street, Suite 2300
Minneapolis, MN 55402
Phone: (612) 335-7007

Fax: (612) 335-1657

richard. pins@leonard.com

 

Davis Wright Tremaine LLP
LAW OFFICES

Suite 2200 + 1201 Third Avenue
Seattle, Washington 98101-3045
(206) 622-3150 + Fax; (206) 757-7700

 
SI DO Om PR WH WN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

 

Case 2:09-cv-01728-JPD Document1 Filed 12/03/09 Page 37 of 37

CERTIFICATE OF SERVICE
I hereby certify that on November 24, 2009, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the

following:

Donald H. Mullins, Esq. DonMullins@badgleymullins.com
Allyssa J. Hale, Esq. AllyssaHale@badgleymullins.com

Davis Wright Tremaine LLP
Attorneys for Defendant

Amy H. Pannoni, WSBA #31824
Davis Wright Tremaine LLP
1201 Third Avenue, Suite 2200
Seattle, WA 98101-3045

Phone: (206) 622-3150

Fax: (206) 757-7700

Email: amypannoni@dwt.com

 

NOTICE OF APPEARANCE - 3 Davis Wright Tremaine LLP
LAW OFFICES
SEA 13608106v1 55956-4 Suite 2200 + 1201 Third Avenuc
Seattle, Washington 98101-3045
(206) 622-3150 - Fax: (206) 757-7700

 
